                Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 1 of 7




 1 Camisha Sawtelle
   Sawtelle Law Firm PLLC
 2 PO Box 5117
 3 Whitefish, MT 59937
   (406) 730-1399
 4
   Attorney for Defendant
 5
 6
 7
                UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
 8                                  MISSOULA DIVISION
 9      JOHN AMBLER AND STACY AMBLER,
10
                Plaintiffs,                             CV 23-151-M-DLC-KLD
11
12        vs.                                           INITIAL DISCLOSURES
13
        FLATHEAD CONSERVATION DISTRICT,
14
15              Defendant.
16
            COMES NOW, Defendant Flathead Conservation District (“FCD”), and
17
18   submits its Initial Disclosure in compliance with Federal Rules of Civil Procedure
19
     26(1)(a) and as required by the Order issued on March 26, 2024.
20
21 i.    Name, address and telephone number of each individual likely to have
22
         discoverable information that the disclosing party may use to support its
23
24       claims or defenses.

25          1. Samantha Tappenbeck, (406) 752-4220, 133 Interstate Lane, Kalispell,
26
                  Montana 59901. As Resource Conservationist for FCD, Samantha can
27
28
      Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 2 of 7




 1      speak to FCD’s process and compliance with laws and regulations.

 2   2. Roger Marsonette, (406) 752-4220, 133 Interstate Lane, Kalispell,
 3
        Montana 59901. As a Supervisor, Roger has information about FCD’s
 4
 5      compliance with laws and regulations regarding Conservation Districts in
 6
        Montana.
 7
 8   3. Scott Rumsey, (406) 752-4220, 133 Interstate Lane, Kalispell, Montana
 9
        59901. As a Supervisor, Scott has information about FCD’s compliance
10
11      with laws and regulations regarding Conservation Districts in Montana.
12
     4. John Ellis, (406) 752-4220, 133 Interstate Lane, Kalispell, Montana
13
14      59901. As a former Supervisor, John has information about FCD’s
15
        compliance with laws and regulations regarding Conservation Districts in
16
17      Montana.

18   5. Donna Pridmore, (406) 752-4220, 133 Interstate Lane, Kalispell,
19
        Montana 59901. As a Supervisor, Donna has information about FCD’s
20
21      compliance with laws and regulations regarding Conservation Districts in
22
        Montana.
23
24   6. Mike Kopitzke, (406) 752-4220, 133 Interstate Lane, Kalispell, Montana
25
        59901. As a Supervisor, Mike has information about FCD’s compliance
26
27
28
      Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 3 of 7




 1      with laws and regulations regarding Conservation Districts in Montana.

 2   7. Pete Woll, (406) 752-4220, 133 Interstate Lane, Kalispell, Montana
 3
        59901. As a Supervisor, and Chairman, Pete has information about FCD’s
 4
 5      compliance with laws and regulations regarding Conservation Districts in
 6
        Montana.
 7
 8   8. Leo Rosenthal, Whitefish, Montana. Montana Department of Fish,
 9
        Wildlife and Parks representative. Leo can speak to the role of FWP in
10
11      administering the Act. Leo can also explain the process for approving
12
        federal projects, which require a different permit.
13
14   9. Gina Icenoggle. 64 Grinnell Drive, West Glacier, Montana 59936. (406)
15
        888-5838. Glacier National Park Public Information Officer. Gina likely
16
17      has information regarding the Plaintiffs’ communication with

18      representatives from Glacier National Park.
19
     10.Jim Foster, 64 Grinnell Drive, West Glacier, Montana 59936. (406) 888-
20
21      7800. Glacier National Park Chief of Utility Management. May have
22
        information regarding the Plaintiffs’ communication connection to
23
24      Apgar utilities.
25
     11.John Lucke, 64 Grinnell Drive, West Glacier, Montana 59936. (406) 888-
26
27
28
      Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 4 of 7




 1      7800. Glacier National Park Deputy Chief for Facilities. May have

 2      information regarding the Plaintiffs communication with representatives
 3
        from Glacier National Park and utilities.
 4
 5   12.Chris Downs, 64 Grinnell Drive, West Glacier, Montana 59936. (406)
 6
        888-7800. Glacier National Park Aquatic and Physical Science Programs
 7
 8      Leader. May have information regarding the lack of environmental
 9
        regulation of private inholdings and compare it to the requirements of
10
11      projects initiated by the park.
12
     13.Laurie Zeller, Helena, Montana. (406) 459-1236. Served as Hearings
13
14      Officer in the Declaratory Ruling for FCD related to the Ambler Project.
15
     14.Brian Bramblett, PO Box 201601 Helena, MT 59620-1601 (406) 444-
16
17      9758. DNRC Legal Counsel. Brian has information on DNRC’s role in

18      Conservation District work.
19
     15.Stephanie Criswell, Helena Montana. CD Bureau Chief. (406) 444-6669.
20
21      Stephanie may have information regarding the implications on other
22
        Conservation District projects across the state.
23
24   16.Hailey Graf, Kalispell, Montana (406) 437-4435. Stream permit
25
        coordinator Montana DNRC. Hailey has information on the Supervisors
26
27
28
                Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 5 of 7




 1               process and compliance with applicable rules.

 2            17.Dave Roemer, 64 Grinnell Drive, West Glacier, Montana 59936. (406)
 3
                 888-7800. Glacier National Park Superintendent. Mr. Roemer may
 4
 5               provide information regarding the Park’s lack of regulation of
 6
                 construction on private property.
 7
 8
 9
     ii.   Documents and information Defendants have in their possession that may be
10
11         used to support their claims or defenses.
12
           The Administrative Record of FCD related to the Declaratory Ruling
13
14         Proceedings are available at: https://flatheadcd.org/310-stream-
15
           permits/declaratory-ruling-mcdonald-creek-violation.
16
17iii.     Computation of each category of damages.

18         Defendant claims no damages in this federal case other than legal fees.
19
  iv.      Insurance Agreements.
20
21         FCD has no insurance agreements related to this matter.
22
23
24            DATED this 26th day of April, 2024.
25
26
27
28
     Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 6 of 7




 1                              SAWTELLE LAW FIRM PLLC

 2                              By: /s/ Camisha Sawtelle
 3                                Attorney for Defendant
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
            Case 9:23-cv-00151-KLD Document 19 Filed 04/26/24 Page 7 of 7




 1                             CERTIFICATE OF SERVICE
 2       I, Camisha Sawtelle of SAWTELLE LAW FIRM PLLC, do hereby certify that on
   the 26th day of April, 2024, I served a true and correct copy of the foregoing
 3 document upon the persons named below, by email:
 4
 5              DATSOPOULOS, MACDONALD & LIND, P.C
                Trent Baker
 6              Email: tbaker@dmllaw.com
 7              J.R. Casillas
                Email: jrcasillas@dmllaw.com
 8
                201 West Main Street, Suite 201
 9              Missoula, Montana 59802
10
11
                                    /s/ Camisha Sawtelle _
12                                Camisha Sawtelle
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
